 AO 399 (01/09) Waiver of the Service of Summons



                                       UNITED STATES DISTRICT COURT
                                                                       for the
                                                                District ofOregon                 [:]

 PORTLAND GENERAL ELECTRIC, an Oregon Corp.
                                                                              )
                               Plaintiff                                      )
                                  V.                                          )   Civil Action No. 3:22-cv-00533-SB
                 STATE OF OREGON, et al.                                      )
                             Defendant                                        )

                                             WAIVER OF THE SERVICE OF SUMMONS

 To: Stephen T. Janik and Jack L. Orchard
              (Name of the plaintiff's attorney or unrepresented plaintiff)

        I have received your request to waive service ofa summons in this action along with a copy ofthe complaint,
 two copies ofthis waiver form, and a prepaid means ofretuming one signed copy ofthe form to you.
           I, or the entity I represent, agree to save the expense ofserving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's
 jurisdiction, and the venue ofthe action, but that I waive any objections to the absence ofa summons or ofservice.
         I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
 60 days from               04/11/2022             , the date when this request was sent (or 90 days ifit was sent outside the
 United States). Ifl fail to do so, a default judgment will be entered against me or the entity I represent.

 Date: Ap ril 11, 2022                                                                                  sl Nina Englander
                                                                                             Signature of the attorney or unrepresented party

State of Oregon by and throu gh Oregon Dept. of State Lands _______     _ _En_ =gla_ n_ d_ e_ 1_· _____ _
                                                                   Ni_ na
        Printed name of party waiving service of summons                                                       Printed name
                                                                                                     Oregon Depar tmen t of Justice
                                                                                                        100 SW Market St reet
                                                                                                         P01iland OR 97201
                                                                                                                  Address

                                                                                                     Nina.Englander@doj .state.or . us
                                                                                                              E-mail address

                                                                                                            (971) 673-1880
                                                                                                            Telephone number

                                            Duty to Avoid Unnecessary Expenses of Serving a Summons

           Rule 4 ofthe Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
 and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
 the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

           "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
 no jurisdiction over this matter or over the defendant or the defendant's property.

         If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
 a summons or of service.

            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
 and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
